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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF ALABAMA
                                    NORTHERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
              Plaintiff,                    )
                                            )
vs.                                         ) Case No.: 2:21-CR-49-MHT-JTA-6
                                            )
THOMAS MICHAEL SISK,                        )
                                            )
              Defendant.                    )
                                            )

                            NOTICE OF INTENT TO CHANGE PLEA

       Comes now the defendant, Thomas Michael Sisk, by and through the undesigned
counsel, and hereby notifies this Honorable Court of the defendant’s intent to change his plea of
NOT GUILTY to a plea of GUILTY to Count 1: 18 U.S.C. § 371 – Conspiracy.

       Respectfully submitted on this the 18th day of March, 2021.


                                                    /s/ Russell W. Crumbley
                                                    _________________________________
                                                    RUSSELL W. CRUMBLEY (CRU013)
                                                    Attorney for Defendant
                                                    2304 Memorial Parkway SW
                                                    Huntsville, Alabama 35801
                                                    Telephone: (256) 539-4464
                                                    Facsimile: (256) 539-4462
                                                    Email: crumbleylaw@gmail.com

                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I have served a copy of the foregoing Notice of Intent to Change
Plea upon the U.S. Attorney’s Office, Middle District of Alabama, by electronically filing a copy
with the Clerk of the Court using the CM/ECF system on this the 18th day of March 2021.

                                                    Russell W. Crumbley
                                                    _________________________________
                                                    Russell W. Crumbley
                                                    Attorney for the Defendant
